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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA
              v.
                                                                23-Cr-490 (SHS)
 ROBERT MENENDEZ, NADINE MENENDEZ,
 WAEL HANA, and FRED DAIBES,                                    ORDER
                            Defendants.


SIDNEY H. STEIN, U.S. District Judge.
    In oral argument held on May 21, 2024, concerning the Government exhibit labeled
GX 1302, a summary chart, the Court set forth on the record that references to a prior
legislative act are barred by the Speech or Debate Clause. (See Transcript dated May 21,
2024, at 1041:1-1041:3.) This ruling is the ineluctable application of United States
Supreme Court precedent holding “that references to past legislative acts of a Member
cannot be admitted without undermining the values protected by the [Speech or
Debate] Clause.” United States v. Helstoski, 442 U.S. 477, 489 (1979).
    Therefore, the summary chart’s references to prior holds on foreign military
assistance and prior sign-offs are precluded from coming in as evidence. Rows 1030,
1040, 1263, 1264, 1267, and 1270 are thus stricken from GX 1302, as are the underlying
exhibits. This includes Government exhibits GX C207-8, GX D207-3, GX A120, GX 10A-
6, GX A103-10, GX B207-1, and GX C602.
Dated: New York, New York
       May 24, 2024
